AO 245C     Case    5:14-cr-50069-TLB
            (Rev. 09/11)                             Document
                         Amended Judgment in a Criminal Case  108               Filed 07/13/15              Page 1(NOTE:
                                                                                                                    of 6 PageID       #: 486
                                                                                                                         Identify Changes with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                          WESTERN                                       District of                                  ARKANSAS
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                                   Case Number:                  5:14CR50069-003
            ERICK PICKER-RAMIREZ
                                                                                   USM Number:                   12468-010 *
Date of Original Judgment: 6/30/2015                                               James E. Moore, IV
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney
Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One (1) and Three (3) of the Indictment on February 6, 2015.
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                              Offense Ended                  Count

18 U.S.C. § 1349                    Conspiracy to Commit Bank Fraud                                                   07/11/2014                      1

18 U.S.C. § 1708                    Possession of Stolen Mail                                                         07/09/2014                      3

       The defendant is sentenced as provided in pages 2                 through      6      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)         Forfeiture Allegation         X is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   July 13, 2015 *
                                                                                   Date of Imposition of Judgment

                                                                                   /S/ Timothy L. Brooks
                                                                                   Signature of Judge
                                                                                   Honorable Timothy L. Brooks, United States District Judge
                                                                                   Name and Title of Judge
                                                                                   July 13, 2015 *
                                                                                   Date
AO 245C   Case    5:14-cr-50069-TLB
           (Rev. 09/11)                            Document
                        Amended Judgment in a Criminal Case 108              Filed 07/13/15      Page 2 of 6 PageID #: 487
           Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                    Judgment — Page     2         of         6
DEFENDANT:                  ERICK PICKER-RAMIREZ
CASE NUMBER:                5:14CR50069-003

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of : eighteen (18) months each on Count One and Count Three, terms to run concurrently




G      The court makes the following recommendations to the Bureau of Prisons:




X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.         on                                     .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C     (Rev. 09/11)
           Case          Amended Judgment in a Criminal
                   5:14-cr-50069-TLB                    Case
                                                    Document 108                   Filed 07/13/15             Page 3 of 6 PageID #: 488
             Sheet 3 — Supervised Release                                                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                                                    Judgment—Page         3      of         6
DEFENDANT:                   ERICK PICKER-RAMIREZ
CASE NUMBER:                 5:14CR50069-003
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of                    3 years each on Counts One and Three,
terms to run concurrently
It is possible the defendant will be deported by Immigration and Customs Enforcement (ICE) following his term of imprisonment. If
defendant leaves the United States by way of deportation or otherwise after completion of his term of imprisonment and reenters the United
States illegally, he will be in immediate violation of a condition of supervised release. If defendant returns to the United States legally, he
shall report to the nearest U.S. Probation Officer within 72 hours of such release or return.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
        granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
        court; and

 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record, personal
        history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s compliance with such
        notification requirement.
AO 245C    (Rev. 09/11)
          Case          Amended Judgment in a Criminal
                  5:14-cr-50069-TLB                    Case
                                                  Document  108         Filed 07/13/15         Page 4 of 6 PageID #: 489
            Sheet 3C — Supervised Release                                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page        4      of         6
DEFENDANT:                 ERICK PICKER-RAMIREZ
CASE NUMBER:               5:14CR50069-003

                                        SPECIAL CONDITIONS OF SUPERVISION


1.        The defendant shall submit to inpatient or outpatient substance abuse evaluation, counseling, testing, and/or treatment as deemed
          necessary and directed by the U.S. Probation Officer.
2.        The defendant shall submit to a search of his person, real and/or personal property, residence, place of business or employment,
          and/or vehicle(s) to be conducted by the U.S. Probation Officer at a reasonable time and in a reasonable manner based on
          reasonable suspicion that evidence of any violation of conditions of supervised release might thereby be disclosed.
AO 245C   Case    5:14-cr-50069-TLB
           (Rev. 09/11)                            Document
                        Amended Judgment in a Criminal Case 108                  Filed 07/13/15      Page 5 of 6 PageID #: 490
           Sheet 5 — Criminal Monetary Penalties                                                              (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment — Page      5         of         6
DEFENDANT:                       ERICK PICKER-RAMIREZ
CASE NUMBER:                     5:14CR50069-003
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                           Fine                               Restitution
TOTALS           $ 200.00                                            $    -0-                              $ 20,870.28


G The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

X The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                Total Loss*                            Restitution Ordered                  Priority or Percentage
Arvest Bank                                           14,930.28                                  14,930.28
Attn: Deposit Risk Mgmt.
P.O. Box 799
Lowell, AR 72745
Simmons 1st Bank                                        4,271.00                                  4,271.00
Attn: Fraud Dept.
501 Main Street
Pine Bluff, AR 71601
First Federal Bank                                          500.00                                 500.00
Attn: Tammy Robinson
P.O. Box 550
Harrison, AR 72602
First Security Bank                                         780.00                                 780.00
Attn: Brenda Reynolds
P.O. Box 1009
Searcy, AR 72145
Chambers Bank                                               389.00                                 389.00
Attn: Pat Novinger
P.O. Box 609
Danville, AR 72833
TOTALS                              $                 20,870.28                 $              20,870.28


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     X the interest requirement is waived for          G fine            X restitution.
     G the interest requirement for the            G fine      G restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245C    (Rev. 09/11)
          Case          Amended Judgment in a Criminal
                  5:14-cr-50069-TLB                    Case
                                                  Document  108            Filed 07/13/15           Page 6 of 6 PageID #: 491
            Sheet 6 — Schedule of Payments                                                                   (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page       6      of         6
DEFENDANT:                 ERICK PICKER-RAMIREZ
CASE NUMBER:               5:14CR50069-003


                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            21,070.28           due immediately, balance due

          G not later than                                       , or
          X in accordance with G C,             G    D,    G     E, or    X F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty shall be payable during the period of imprisonment in quarterly installments
          of $25.00 or 10% of defendant’s quarterly earnings, whichever is greater. The payment of any remaining balance shall be a
          condition of supervised release and may be paid in monthly installments of $100.00 or 15% of defendant’s net monthly household
          income, whichever is greater, with the entire balance to be paid in full one month prior to the end of the period of supervised
          release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.
     Shawn Dewayne Cox, Dkt. No. 5:14CR50069-001
     Spencer Mason, Dkt. No. 5:14CR50069-004
     Christopher Joseph Lee Evans, Dkt. No. 5:14CR50069-005


G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
